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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                   LEXINGTON DIVISION

TONY HOPSON,

           Plaintiff,

v.                                                 CASE NO.:

BLUESTEM BRANDS, INC., d/b/a
FINGERHUT

               Defendant.
                                          /

                     COMPLAINT AND DEMAND FOR JURY TRIAL

       COMES NOW, Plaintiff, TONY HOPSON, by and through the undersigned

counsel, and sues Defendant, BLUESTEM BRANDS, INC., d/b/a FINGERHUT, and in

support thereof respectfully alleges violations of the Telephone Consumer Protection Act,

47 U.S.C. § 227 et seq. (“TCPA”).

                                      INTRODUCTION

          1.        The TCPA was enacted to prevent companies like Defendant from

invading American citizen’s privacy and to prevent abusive “robo-calls.”

          2.        “The TCPA is designed to protect individual consumers from receiving

intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740

(2012).

          3.        “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

scourge of modern civilization, they wake us up in the morning; they interrupt our dinner

at night; they force the sick and elderly out of bed; they hound us until we want to rip the



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telephone out of the wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably

intended to give telephone subscribers another option: telling the auto-dialers to simply

stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014).

       4.       According    to   the   Federal   Communications     Commission      (FCC),

“Unwanted calls and texts are the number one complaint to the FCC.               There are

thousands of complaints to the FCC every month on both telemarketing and robocalls.

The FCC received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler

Proposal to Protect and Empower Consumers Against Unwanted Robocalls, Texts to

Wireless     Phones,   Federal    Communications      Commission,     (May     27,   2015),

https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf.

                             JURISDICTION AND VENUE


        5.      Jurisdiction and venue for purposes of this action are appropriate and

conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

violations of the TCPA.

        6.      Subject matter jurisdiction, federal question jurisdiction, for purposes of

this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States; and this action involves violations of

47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014).

       7.       The alleged violations described herein occurred in Powell County,

Kentucky. Accordingly, venue is appropriate with this Court under 28 U.S.C.


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§1391(b)(2), as it is the judicial district in which a substantial part of the events or

omissions giving rise to this action occurred.




                               FACTUAL ALLEGATIONS

       8.       Plaintiff is a natural person, and citizen of the State of Kentucky, residing

in Powell County, Kentucky.

       9.       Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

Cir. 2014).

       10.      Defendant is a corporation with its principal place of business located at

6509 Flying Cloud Dr., Eden Prairie, MN 55344, and which conducts business in the

State of Kentucky through its registered agent, The Corporation Company, located at

1200 South Pine Island Road, Plantation FL 33324.

       11.      Defendant called Plaintiff hundreds of times in an attempt to collect an

alleged debt.

       12.      Defendant attempted to collect an alleged debt from Plaintiff by this

campaign of telephone calls.

       13.      Plaintiff is the regular user and carrier of the cellular telephone number at

issue, (606) *** - 6303, and was the called party and recipient of Defendant’s hereinafter

described calls.




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        14.    Upon receipt of the calls from Defendant, Plaintiff’s caller ID identified

the calls and text messages were being initiated from, but not limited to, the following

phone number: (844) 349-6203, and when that number is called, an agent/representative

answers the phone and identifies themselves as an employee of Defendant.

        15.    Upon information and belief, some or all of the calls Defendant made to

Plaintiff’s cellular telephone number were made using an “automatic telephone dialing

system” which has the capacity to store or produce telephone numbers to be called, using

a random or sequential number generator (including but not limited to a predictive dialer)

or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §

227(a)(1) (hereinafter “auto-dialer calls”). Plaintiff will testify that his knew it was an

auto-dialer because of the vast number of calls he received and because he heard a pause

when he answered his phone before an agent/representative of Defendant came on the

line.

        16.    On several occasions over the last four (4) years, Plaintiff instructed

Defendant’s agent(s)/representative(s) to stop calling his cellular telephone.

        17.    When Plaintiff’s cellular telephone began being bombarded with

Defendant’s automated calls, Plaintiff answered a call from an agent/representative of

Defendant in or about 2017 and demanded that the calls to his cellular telephone cease.

        18.    Despite actual knowledge of their wrongdoing, the Defendant continued

the campaign of abuse, calling the Plaintiff despite the Plaintiff revoking any express

consent the Defendant may have had to call his aforementioned cellular telephone

number.



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       19.     Again in or about 2017 Plaintiff spoke with an agent/representative of

Defendant and demanded that the calls stop. He then requested with the

agent/representative to speak with a supervisor. The agent/representative informed

Plaintiff that he wasn’t able to speak to a supervisor.

       20.     Each of the Plaintiff’s requests for the harassment to end was ignored

       21.     Due to the tremendous volume of calls Plaintiff received over a lengthy

period of time, he was not able to properly catalogue each and every call, however

attached hereto as Exhibit A is a small sampling of some of the automated calls Plaintiff

received to his cellular telephone from Defendant.

       22.     Defendant has a corporate policy to use an automatic telephone dialing

system or a pre-recorded or artificial voice to individuals just as they did to Plaintiff’s

cellular telephone in this case.

       23.     Defendant has a corporate policy to use an automatic telephone dialing

system or a pre-recorded or artificial voice, just as they did to the Plaintiff’s cellular

telephone in this case, with no way for the consumer, or Defendant to remove the

number.

       24.     B Defendant’s corporate policy is structured so as to continue to call

individuals like Plaintiff, despite these individuals explaining to Defendant they do not

wish to be called.

       25.     Defendant has numerous other federal lawsuits pending against them

alleging similar violations as stated in this Complaint.




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        26.    Defendant has numerous complaints against it across the country asserting

that its automatic telephone dialing system continues to call despite being requested to

stop.

        27.    Defendant has had numerous complaints against it from consumers across

the country asking to not be called, however Defendant continues to call these

individuals.

        28.    Defendant’s corporate policy provided no means for Plaintiff to have

Plaintiff’s number removed from Defendant’s call list.

        29.    Defendant has a corporate policy to harass and abuse individuals despite

actual knowledge the called parties do not wish to be called.

        30.    Not one of Defendant’s telephone calls placed to Plaintiff was for

“emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

        31.    Defendant willfully and/or knowingly violated the TCPA with respect to

Plaintiff.

        32.    From each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion of privacy and the

intrusion upon his right of seclusion.

        33.    From each and every call without express consent placed by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of the occupation of his cellular

telephone line and cellular telephone by unwelcome calls, making the phone unavailable

for legitimate callers or outgoing calls while the phone was ringing from Defendant’s

call.



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       34.     From each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of

his time. For calls he answered, the time he spent on the call was unnecessary as he

repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste

time to unlock the phone and deal with missed call notifications and call logs that reflect

the unwanted calls. This also impaired the usefulness of these features of Plaintiff’s

cellular telephone, which are designed to inform the user of important missed

communications.

       35.     Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone was an injury in the form of a nuisance and annoyance to

Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of

answering them. Even for unanswered calls, Plaintiff had to waste time to unlock the

phone and deal with missed call notifications and call logs that reflected the unwanted

calls. This also impaired the usefulness of these features of Plaintiff’s cellular telephone,

which are designed to inform the user of important missed communications.

       36.     Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone resulted in the injury of unnecessary expenditure of

Plaintiff’s cellular telephone’s battery power.

       37.     Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone where a voice message was left which occupied space in

Plaintiff’s telephone or network.




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        38.     Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone resulted in the injury of a trespass to Plaintiff’s chattel,

namely his cellular phone and his cellular phone services.

        39.     As a result of the calls described above, Plaintiff suffered an invasion of

privacy. Plaintiff was also affect in a personal and individualized way by aggravation.

                                          COUNT I
                                   (Violation of the TCPA)

        40.     Plaintiff fully incorporates and realleges paragraphs one (1) through thirty

nine (39) as if fully set forth herein.

        41.     Defendant willfully violated the TCPA with respect to Plaintiff,

specifically for each of the auto-dialer calls made to Plaintiff’s cellular telephone after

Plaintiff notified Defendant that Plaintiff wished for the calls to stop

        42.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

cellular telephone using an automatic telephone dialing system or prerecorded or artificial

voice without Plaintiff’s prior express consent in violation of federal law, including 47

U.S.C § 227(b)(1)(A)(iii).

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

triable and judgment against Defendant for statutory damages, punitive damages, actual

damages, treble damages, enjoinder from further violations of these parts and any other

such relief the court may deem just and proper.




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                                     Respectfully submitted,



                                         /s/Andrea Wasson, Esquire
                                         Andrea Wasson, Esquire
                                         Kentucky Bar #:86495
                                         Wasson & Thornhill, PLLC
                                         3000 Breckenridge Lane
                                         Louisville, KY 40220
                                         Tele: (502) 964-7878
                                         Fax: (855) 257-9256
                                         Andrea@Wassonthornhill.com
                                         Attorney for Plaintiff

                                         And

                                         /s/Amy Ferrera, Esquire
                                         Amy Ferrera, Esquire
                                         Florida Bar #: 15313
                                         Application for Pro Hac Pending
                                         Morgan & Morgan, Tampa, P.A.
                                         One Tampa City Center
                                         201 N. Franklin Street, 7th Floor
                                         Tampa, FL 33602
                                         Tele: (813) 223-5505
                                         Fax: (813) 223-5402
                                         amferrera@forthepeople.com
                                         amoore2@forthepeople.com
                                         Attorney for Plaintiff




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